






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00579-CR





Joel Curtis Freeman, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 55410, HONORABLE JOE CARROLL, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record was due to be filed on September 13, 2004.  The court reporters
failed to respond to this Court's notice that the reporter's record is overdue.

Appellant is represented by appointed counsel on appeal.  We assume that if there
were any question whether appellant is indigent, the district court would not have appointed counsel.

The district court is instructed to order the preparation of the reporter's record at no
cost to appellant.  The court reporters for the 264th District Court, Ms. Gayla May and Ms. Betty
Young, are ordered to file the reporter's record no later than December 30, 2004.  See Tex. R. App.
P. 37.3(a)(2).  No further extension of time will be granted.

It is ordered November 30, 2004.


Before Justices Kidd, Patterson and Puryear

Do Not Publish


